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UNITED STATES DISTRICT COURT
DISTRICT COLUMBIA
--------------------------------------------------------X
UNITED STATES OF AMERICA,
                                                                          Case No. 1:23-mj-00003
                                   Plaintiff,                         NOTICE OF APPEARANCE

                 -against-


TROY WEEKS,

                                   Defendant.



TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

        I am admitted or otherwise authorized to practice in this Court, and I appear in this case for

the sole and limited purpose of moving for the pro hac vice admission of James C. Knox, Esq.,

counsel for Defendant.



DATED: January 31, 2023

Respectfully Submitted,



/s/ Emily C. Lagan
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